Case 4:19-cv-00905-SDJ Document 140 Filed 04/13/22 Page 1 of 2 PageID #: 4723




                            UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

JOSHUA YARBROUGH,                                   §
and MATT LOFLAND, ET AL.,                           §
                                                    §
        Plaintiffs,                                 §
                                                    §       Civil Action 4:19-cv-905
vs.                                                 §
                                                    §
GLOW NETWORKS, INC.,                                §
                                                    §
        Defendants.                                 §

                           PLAINTIFFS’ REPLY TO RESPONSE
                         TO MOTION FOR ENTRY OF JUDGMENT

TO THE HONORABLE SEAN D. JORDAN:

        Plaintiffs Joshua Yarbrough, Matt Lofland, Joshua Walker, Michael Brown, Adawale

Ashiru, Paul Tijani, Peter Tijani, Brandon Price, Harom Pringle, and Osasuyi William Aigheyisi

reply the response filed by Defendant Glow Networks, Inc. to Plaintiff’s motion for entry of

judgment.

        Glow Networks did not directly address the merits of the motion. Instead, it previewed its

motions it expects to file after a judgment is entered. A judgment on the verdict needs to be entered

to determine post-judgment motions. Rule 58(b)(2) outlines those circumstances under which the

Court must approve final judgment before such can be entered by the clerk. See AMS Sensors USA

Inc. v. Renesas Elecs. Am. Inc., No. 4:08-CV-00451, 2022 WL 672691, at *3 (E.D. Tex. Mar. 7, 2022)

(concerning entering a judgment after a jury verdict).

        WHEREFORE, Plaintiffs respectfully request that the Court grant this motion and enter

an order finding that the Plaintiffs are entitled to the full verdict with interest and costs of court.



Reply to Response to Motion for Entry of Judgment                                                Page 1
Case 4:19-cv-00905-SDJ Document 140 Filed 04/13/22 Page 2 of 2 PageID #: 4724




                                                     Respectfully submitted,



                                                     /s/ Brian Sanford
                                                         Brian Sanford
                                                         Texas Bar No. 17630700
                                                         bsanford@sanfordfirm.com
                                                         Elizabeth “BB” Sanford
                                                         Texas Bar No. 24100618
                                                         esanford@sanfordfirm.com

                                                     THE SANFORD FIRM
                                                     1910 Pacific Ave., Suite 15400
                                                     Dallas, TX 75201
                                                     Ph: (214) 717-6653
                                                     Fax: (214) 919-0113

                                                     ATTORNEYS FOR PLAINTIFFS


                                CERTIFICATE OF SERVICE

       I hereby certify that April 13, 2022, I served the foregoing document on all counsel of
record via the electronic filing system of the Court.

                                                              /s/ Brian P. Sanford




Reply to Response to Motion for Entry of Judgment                                           Page 2
